Case 1:14-cv-03349-PAB-NYW Document 11 Filed 03/25/15 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil No. 14-cv-3349-PAB-NYW

  ROBERT A. PFAFF,

                    Plaintiff,
  v.

  UNITED STATES OF AMERICA,

                    Defendant.


               UNITED STATES’ UNOPPOSED MOTION TO ATTEND STATUS
                           CONFERENCE BY TELEPHONE


         The United States of America (“United States”), by its undersigned counsel, moves the

  Court for an Order allowing counsel for the United States to appear by telephone at the Status

  Conference in this case set for April 23, 2015, at 1:30 p.m. for the following reasons:

         1.      The United States Department of Justice, Tax Division, Washington, D.C., has

  primary litigating responsibility in the above-captioned case. Hilarie Snyder, a trial attorney in

  that office, has been designated as counsel for the United States in this matter.

         2.      The United States respectfully requests that its counsel, Hilarie Snyder, be

  allowed to appear by telephone at the Status Conference set for April 23, 2015. Ms. Snyder’s

  office is located in Washington, D.C., and she has no other personal appearances scheduled in

  the Denver area during the week of the Scheduling Conference.

         3.      Counsel for the United States has conferred with counsel for plaintiff, Kevin

  Planegger. Counsel for plaintiff has no objection to the requested relief.
Case 1:14-cv-03349-PAB-NYW Document 11 Filed 03/25/15 USDC Colorado Page 2 of 2




         WHEREFORE the United States respectfully requests that the Court grant the instant

  motion and allow Ms. Snyder to appear by telephone at the Status Conference set for April 23,

  2015. A proposed order to this effect is attached.

         DATED this 25th day of March, 2015.

                                                CAROLINE D. CIRAOLO
                                                Acting Assistant Attorney General

                                                /s/ Hilarie Snyder
                                                HILARIE SNYDER
                                                Trial Attorney, Tax Division
                                                U.S. Department of Justice
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                                                hilarie.e.snyder@usdoj.gov
                                                Attorneys for the United States

                                                JOHN F. WALSH
                                                United States Attorney
                                                Of Counsel




                                    CERTIFICATE OF SERVICE

         I hereby certify, on this 25th day of March, 2015, that I filed a copy of this MOTION TO

  ATTEND STATUS CONFERENCE BY TELEPHONE with the Court’s Electronic Filing

  System, which sent a notice of electronic filing to all registered parties, including Ted H.

  Merriam and Kevin A. Planegger, counsel for Plaintiff, Robert A. Pfaff.

                                                /s/ Hilarie Snyder
                                                Hilarie Snyder




                                                  -2-
